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                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

 TONYA CLAY, et al.,                             Case No. 1:18 CV 2929

         Plaintiffs,                             Judge Solomon Oliver, Jr.

 -vs-

 CUYAHOGA COUNTY, et al.,

          Defendants.


                          UNOPPOSED MOTION FOR EXTENSION
                          OF TIME TO COMPLETE NEGOTIATIONS




        The Cuyahoga County Defendants submit this Unopposed Motion for Extension of

Time to complete negotiations. During a January 31, 2023, status conference, counsel for

the County Defendants indicated they believed this matter could resolved before the end

of March 2023. (Doc. #60). But additional time is needed due to scheduling issues, the

departure of the previous Sheriff who was involved in the negotiations, and the need to

update the interim Sheriff on the case and the status of negotiations.

        Defendants anticipate the parties reaching a resolution by April 28, 2023, and that

no further extension will be needed. The undersigned discussed this extension with

Plaintiffs’ counsel, who does not oppose this request. Accordingly, the Parties respectfully

ask this Court to continue to hold this case in abeyance, pending the Parties’ ongoing

efforts toward finalizing a resolution to this case.


                                           Respectfully submitted,

                                           MICHAEL C. O’MALLEY
                                           Prosecuting Attorney of Cuyahoga County
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